 Case 8:21-cv-00128-TPB-TGW Document 1 Filed 01/15/21 Page 1 of 7 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,
  v.                                                      CASE NO.: 8:21-cv-00128

 JANE A. COTTRELL,

       Defendant.
 ____________________________________/


                     UNITED STATES OF AMERICA’S COMPLAINT FOR
                              PERMANENT INJUNCTION

       Plaintiff, the United States of America (“United States”), through its undersigned

counsel, hereby sues Defendant Jane A. Cottrell (“Defendant”) and alleges as follows:

                                       INTRODUCTION

       1.      Starting as early as March 2020 and continuing to the present, Defendant has

assisted and facilitated a predatory mail and wire fraud scheme that primarily victimizes senior

citizens of the United States. Participants in the scheme contact potential victims, falsely claim

that those victims have won the lottery, and thereby induce the victims to transmit money to

Defendant to account for taxes and fees purportedly associated with victims’ falsely promised

lottery winnings.

       2.      The United States seeks to prevent continuing and substantial injury to victims of

this fraudulent scheme by bringing this action for a permanent injunction and other equitable

relief under 18 U.S.C. § 1345 to enjoin the ongoing commission of mail fraud and wire fraud in

violation of 18 U.S.C. §§ 1341 and 1343.
 Case 8:21-cv-00128-TPB-TGW Document 1 Filed 01/15/21 Page 2 of 7 PageID 2




                                 JURISDICTION AND VENUE

       3.      The Court has subject matter jurisdiction over this action under 18 U.S.C. § 1345

and 28 U.S.C. §§ 1331 and 1345.

       4.      Venue is proper in this district under 28 U.S.C. § 1391(b)(1).

                                             PARTIES

       5.      Plaintiff is the United States.

       6.      Defendant is a resident of Largo, Florida. Defendant engaged, and continues to

engage, in the conduct described in this Complaint from within the Middle District of Florida.

                                   FRAUDULENT SCHEME

       7.      Since at least as early as March 2020, Defendant has assisted and facilitated a

fraud scheme by accepting victim payments and providing participants of the scheme with access

to those payments.

       8.      Operators of the fraud scheme engage in a lottery scam. Callers associated with

the fraud scheme contact victims, who often are senior citizens, and falsely claim that the victims

have won the lottery. Typically, the callers then tell the victim that he or she needs to wire or

otherwise transmit money to pay for fees and/or taxes allegedly associated with winning the

lottery. These claims are false and fraudulent, as the members of the scheme know the victim

has not won the lottery and that there is no need for the victim to wire fees and/or taxes

associated with winning the lottery.

       9.      Since at least as early as March 2020, victims have been harmed by the fraudulent

scheme facilitated by Defendant. Defendant plays a critical role in the scheme by receiving

victim payments by mail, including cash, checks, cashier’s checks, and money orders, and by

wire transfer. After receiving the payments, Defendant uses various methods to transfer the

money to lottery fraudsters. At times after depositing or receiving payments directly into her

                                                 2
 Case 8:21-cv-00128-TPB-TGW Document 1 Filed 01/15/21 Page 3 of 7 PageID 3




bank account, individuals in Jamaica engaged in the scheme withdraw money from Defendant’s

account at ATMs. Defendant also converts the monies sent to her into gift cards, cashier’s

checks, or postal money orders, and sends them to other individuals engaged in the scheme using

the United States Postal Service, FedEx, or UPS.

       10.     On or about May 15, 2020, and July 28, 2020, the United States Postal Service

Inspection Service (USPIS) sent letters to Defendant notifying her that participation in a

fraudulent lottery scheme was a crime. Despite receiving those letters, Defendant continues to

assist and facilitate the fraud scheme. For example, on or about July 6, 2020, she established a

new bank account in Largo, Florida. On August 14, 2020, Defendant deposited into the account

an $18,500 check sent to her by an 88 year-old man in Kansas who was told he won a

Publisher’s Clearing House sweepstakes. The man later notified his bank to stop payment on the

check. Between August 13 and 17, 2020, five withdrawals from Defendant’s bank account

totaling approximately $1,400 were made from ATMs in Jamaica.

       11.     Since early June, Defendant has received mail parcels from lottery fraud victims

located throughout the country, including in Florida, Texas, Washington, Ohio, Alaska, Oregon,

Nevada, Colorado, Illinois, and Utah. In July, a FedEx parcel was sent to her by an 80 year-old

North Carolina man, who was told he had won a Publisher’s Clearing House sweepstakes.

Another parcel was sent to Defendant via FedEx on September 3, 2020, by a 79 year-old Oregon

man. The parcel contained $2,200 in U.S. Postal Service money orders. In early November

2020, Defendant also received $2,000 in wire transfers from a 62 year-old Wisconsin woman.

       12.     On December 29, 2020, a U.S. Postal Inspector interviewed Defendant, who

acknowledged she received cash, checks, money orders, and wire transfers from individuals

unknown to her, then used the money to purchase gift cards or deposited it into various bank



                                                 3
 Case 8:21-cv-00128-TPB-TGW Document 1 Filed 01/15/21 Page 4 of 7 PageID 4




accounts. She also admitted that she sent someone associated with a purported sweepstakes a

debit card associated with one of the bank accounts. Defendant provided receipts and documents

showing she had received and sent mail parcels, wire transfers, and money orders to various

individuals throughout the United States, all of which were associated with a sweepstakes scam.

                        DEFENDANT’S KNOWLEDGE OF FRAUD

       13.     Upon information and belief, the United States alleges that Defendant has

knowledge that her conduct facilitates a mail and wire fraud scheme.

                                     HARM TO VICTIMS

       14.     Victims suffer financial losses from the mail and wire fraud scheme facilitated by

Defendant.

       15.     The scheme disproportionately affects elderly victims.

       16.     Absent injunctive relief by this Court, Defendant’s conduct will continue to cause

injury to victims.

                                           COUNT I
                             (18 U.S.C. § 1345 – Injunctive Relief)

       17.     The United States re-alleges and incorporates by reference Paragraphs 1 through

16 of this Complaint as though fully set forth herein.

       18.     By reason of the conduct described herein, Defendant violated, is violating, and is

about to violate 18 U.S.C. §§ 1341 and 1343 by facilitating a scheme and artifice to defraud and

obtain money or property by means of false or fraudulent representations with the intent to

defraud, and, in so doing, use the United States mails and interstate or foreign wire

communications.

       19.     Upon a showing that Defendant is committing or about to commit mail or wire

fraud, the United States is entitled, under 18 U.S.C. § 1345, to seek a permanent injunction


                                                 4
 Case 8:21-cv-00128-TPB-TGW Document 1 Filed 01/15/21 Page 5 of 7 PageID 5




restraining all future fraudulent conduct and to any other action that this Court deems just and

proper to prevent a continuing and substantial injury to victims.

          20.    As a result of the foregoing, the Court should enjoin Defendant’s conduct under

18 U.S.C. § 1345.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, United States of America, requests of the Court the following

relief:

          A.     That the Court issue a permanent injunction, pursuant to 18 U.S.C. § 1345,

ordering that Defendant is restrained from engaging, participating, or assisting in any lottery

scam or money transmitting business; and

          B.     That the Court order such other and further relief as the Court shall deem just and

proper.

           Dated: January 15, 2021                    Respectfully Submitted,

                                                      MARIA CHAPA LOPEZ
                                                      UNITED STATES ATTORNEY

                                                      /s/ Mamie V. Wise
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                                                      GUSTAV W. EYLER
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                                                  5
Case 8:21-cv-00128-TPB-TGW Document 1 Filed 01/15/21 Page 6 of 7 PageID 6




                                        JACQUELINE BLAESI-FREED
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                                        /s/ Linda I. Marks
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                                    6
 Case 8:21-cv-00128-TPB-TGW Document 1 Filed 01/15/21 Page 7 of 7 PageID 7




                                 CERTIFICATE OF SERVICE

       The United States certifies that on January 15, 2021, I electronically filed the foregoing

with the Clerk by using the CM/ECF system. I further certify that caused to be mailed the

foregoing document and the notice of electronic filing by first-class mail to the following non-

CM/ECF participant:

               Jane A. Cottrell
               11301 125th Terrace
               Largo, FL 33778

                                                     s/ Linda I. Marks
                                                     Linda I. Marks
                                                     Senior Litigation Counsel
                                                     Consumer Protection Branch
                                                     U.S. Department of Justice




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